          USCA Case #24-1291    Document #2076251         Filed: 09/23/2024   Page 1 of 2



                      ORAL ARGUMENT NOT YET SCHEDULED

                                    No. 24-1291(L), 24-1292

                      UNITED STATES COURT OF APPEALS
                    FOR THE DISTRICT OF COLUMBIA CIRCUIT


                                    TRAVIS DARDAR, et al.,
                                           Petitioners,
                                                v.
                    FEDERAL ENERGY REGULATORY COMMISSION,
                                          Respondent.


                               On Petition for Review of Orders
                      of the Federal Energy Regulatory Commission


                      EXHIBITS TO JOINT MOTION FOR STAY

           Spencer Gall                         Megan C. Gibson
           Deirdre Dlugoleski                   Southern Environmental Law
           Southern Environmental Law           Center
           Center                               122 C Street NW, Suite 325
           120 Garrett Street, Suite 400        Washington, DC 20001
           Charlottesville, Virginia 22902      (202) 828-8382
           (434) 977-4090                       mgibson@selcdc.org
           sgall@selcva.org

           Counsel for Travis Dardar, Nicole Dardar, Kent Duhon, Mary Alice
           Nash, Jerryd Tassin, Anthony Theriot, For a Better Bayou, and
           Fishermen Involved in Sustaining Our Heritage

          Additional counsel listed on inside cover.




(Page 1 of Total)
          USCA Case #24-1291     Document #2076251     Filed: 09/23/2024   Page 2 of 2



           Caroline Reiser
           Morgan Johnson
           Thomas Zimpleman
           Natural Resources Defense Council
           1152 15th Street NW, Suite 300
           Washington DC, 20005
           (202) 717-8341
           creiser@nrdc.org

           Counsel for Natural Resources Defense Council

           Nathan Matthews                       Rebecca McCreary
           Sierra Club                           Sierra Club
           2101 Webster Street, Suite 1300       1650 38th Street, Suite 103W
           Oakland, CA 94612                     Boulder, CO 80301
           (415) 977-5695                        (305) 449-5595 ext. 103
           nathan.matthews@sierraclub.org        rebecca.mccreary@sierraclub.org

           Counsel for Louisiana Bucket Brigade, Healthy Gulf, Sierra Club,
           Texas Campaign for the Environment, and Turtle Island Restoration
           Network

           Dated Sept. 23, 202




(Page 2 of Total)
